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                         EXHIBIT 1
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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION


 BABY DOE, et al.,                                    )
                                                      )
                Plaintiffs,                           )
                                                      )
 v.                                                   )      Case No. 3:22-cv-49-NKM-JCH
                                                      )
 JOSHUA MAST, et al.,                                 )
                                                      )
                Defendants.                           )
                                                      )
                                                      )

                              DECLARATION OF JOSHUA K. MAST

        Pursuant to 28 U.S.C. § 1746, I, Joshua K. Mast, declare as follows:

        1.      My name is Major Joshua K. Mast, USMC. I am a defendant in the above-captioned

 litigation. I am an adult citizen of the United States and resident in North Carolina pursuant to

 military orders. I am a licensed attorney admitted in Virginia. I am competent to testify as to the

 matters herein, all of which are based upon my personal knowledge, information, and belief.

        2.      I attended Liberty University for my undergraduate degree and later for law school,

 and was assigned the email address jkmast@liberty.edu in approximately 2005. I have maintained

 this Liberty University email account ever since, as Liberty University continues to provide access

 to student alumni email addresses for life. I have routinely used the email account, primarily via

 webmail access from a cellular phone or an internet browser, from 2005 to the present, using it for

 personal and professional matters.

        3.      From at least 2010 to present, I was generally aware that Liberty University

 maintained an acceptable use policy and understood it to mean that it would preserve the privacy

 and confidentiality of my communications sent or received through my alumni email account.
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 Neither Liberty University’s acceptable use policy or its practice in administering email accounts

 gave me any reason to think otherwise, and I have utilized the account for attorney client privileged

 communications unrelated to the present case and I have personal knowledge that this was a

 widespread practice at Liberty University School of Law amongst faculty, students, and alumni.

        4.      During the past 18 years that I have used my Liberty University email account, I

 have never seen a “splash screen” warning upon login of limitations on the email account that may

 be commonly observed when employees log onto a work computer.

        5.      Instead, logging into https://www.liberty.edu/ simply leads you to a dashboard

 where you can click on your webmail without further login. As such, neither I, or any other users,

 received any automatic or regular reminders regarding Liberty University’s acceptable use policy.

 See Exhibit 1, attached (screenshot of the log in page).

        6.      I have reviewed the declaration of the Chief Information Officer at Liberty

 University, John M. Gauger. His statements concerning Liberty University’s practice of not

 monitoring or accessing email accounts (including those of its alumni) is consistent with the

 understanding that I have had ever since I was assigned the “jkmast@liberty.edu” account.

        7.      I have also reviewed the declaration of Liberty University’s Senior Counsel, J.

 Court Shipman. His statements are consistent with my experience interacting with Liberty

 University during discovery in this litigation and the state court litigation. At all times, Liberty

 University has acted to protect the confidentiality of my Liberty University email account,

 including by ensuring that myself, my wife (Stephanie Mast), and my brother, Richard Mast all

 had the opportunity to contest subpoenas issued to Liberty University.

        8.      On both occasions that Plaintiffs subpoenaed Liberty University (in the state and

 federal cases), the University contacted myself and my counsel before making any productions so



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 that we could assert privilege claims as appropriate. In the state court litigation, Liberty University

 recognized my assertions of privilege, as did the Plaintiffs who ultimately agreed not to seek

 communications protected by my assertion of attorney-client, martial, and work product privileges.

 See Exhibit 2 (Letter from Hannon E. Wright). In this litigation, Liberty University once again

 notified myself and my wife of the subpoena and has accommodated our efforts to assert the same

 legal privileges. Liberty University’s sensitivity to my assertions of privilege further reinforced

 my understanding that my communications remained confidential and private.



        I declare (or certify, verify, or state) under the penalty of perjury that the foregoing is true

 and correct.



                                        Executed this 25th day of March 2024.




                                         Joshua K. Mast
                                         Printed Name




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                              Exhibit 1
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                              Exhibit 2
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                           RAKNESS & WRIGHT PLC
                                           ATTORNEYS AT LAW


                                                 July 28, 2022
 Liberty University
 Office of Legal Affairs
 Attn: Brooke Graham
 1971 University Blvd
 Green Hall, Suite 2730
 Lynchburg, VA 24515

 Re: Agreement Regarding Motion to Quash Subpoena Duces Tecum to Liberty University ICO
     Amins v. Masts, Fluvanna County Circuit Court case number CL22000186-00

 Dear Ms. Graham,

       I am writing to inform you of the resolution with opposing counsel of the subpoena duces
 tecum for Liberty University in the Fluvanna County Circuit Court case number CL22000186-00.
 The intent of this compromise is to produce valid document requests in the subpoena and to prevent
 the production of privileged communications and completely unrelated items that could otherwise
 be responsive to the requests. We have agreed to the following parameters to the subpoena duces
 tecum requests:

       Marital and Attorney-Client Privilege: Produce everything responsive to requests except not
 to produce communications solely between Joshua Mast and Stephanie Mast; except not to produce
 communications between attorney Richard Mast and Joshua and/or Stephanie Mast after October
 12, 2019, and communications between the Masts and attorneys in which they were seeking legal
 representation during this same time frame; communications between me and Joshua and/or
 Stephanie Mast and/or Richard Mast after approximately December 10, 2021.

       Things that are completely unrelated to this litigation: As stated there are alumni email
 accounts for the Masts with Liberty University. Document requests # 3 and 5 ask for all documents
 and communications from September 1, 2019, relating to Joshua and/or Stephanie Mast. As written,
 this would include every email that each one of them sent and received from those accounts to any
 person on any topic. Documents produced from those accounts shall be limited to documents and
 communications involving Lily or the Amins and not otherwise privileged as stated above.

       Request numbers 1, 2, 4, 6, 7, 8, 9, and 10 are unobjectionable as written given the privilege
 protections discussed above.

       Please let us know if you have any questions or concerns.

                                                   Respectfully,


                                                   Hannon E. Wright
 CC: Elizabeth S. Vaughan
 Phone: 434-284-7746           1540 Insurance Lane, Charlottesville, VA 22911         Fax: 540-301-0021

                       ryan@rakness-wright.com     hannon@rakness-wright.com
